       Case 1:19-cv-10044-GBD-SN Document 23 Filed 12/18/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐ X
                                       :
JACQUELINE D. CREEKS,                  :              CASE NO.: 19-cv-10044-GBD-SN
                                       :
                Plaintiff,             :
                                       :
      -against-
                                       :
AROTECH CORPORATION, JON B. KUTLER,
                                       :
KENNETH W. CAPPELL, LAWRENCE F.        :
HAGENBUCH, JAMES J. QUINN, DEAN M.     :
KRUTTY, and KELLI L. KELLAR,           :
                                       :
                Defendants.            :
-------------------------------------- X

                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action as moot. This notice of dismissal

is being filed with the Court before service by Defendants of either an answer or a motion for

summary judgment.

Dated: December 18, 2019                           Respectfully Submitted,

                                                   MONTEVERDE & ASSOCIATES PC

                                                   /s/ Juan E. Monteverde____________
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